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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
__________________________________________

This Document Relates to Plaintiff(s)
__________________________________________
Ralph Johnson and Cynthia Johnson

             1:18-cv-2073
Civil Case #________________________________


                                 SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document

213). Plaintiff(s) further show the court as follows:

       1. Plaintiff/Deceased Party:

           ____________________________________________________________________
           Ralph Johnson

       2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

           claim:

           ____________________________________________________________________
           Cynthia Johnson

       3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

           ____________________________________________________________________

       4. Plaintiff’s/Deceased Party’s state of residence at the time of implant:

           ____________________________________________________________________
           Michigan




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     5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

         Michigan
         ____________________________________________________________________

     6. Plaintiff’s/Deceased Party’s current state of residence:

        Michigan
        _____________________________________________________________________



     7. District Court and Division in which venue would be proper absent direct filing:

        Western District of Michigan, Southern Division
        _____________________________________________________________________



     8. Defendants (Check Defendants against whom Complaint is made):

            ✔
            Ƒ       Cook Incorporated

            ✔
            Ƒ       Cook Medical LLC

            ✔
            Ƒ       William Cook Europe ApS

     9. Basis of Jurisdiction:

            ✔
            Ƒ       Diversity of Citizenship

            Ƒ       Other: ________________________________________________

        a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

        Paragraphs 6-26 (Jurisdiction)
        _____________________________________________________________________

        Paragraphs 27-28 (Venue)
        _____________________________________________________________________

        _____________________________________________________________________

        b. Other allegations of jurisdiction and venue:

        _____________________________________________________________________

        _____________________________________________________________________

        _____________________________________________________________________


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     10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

        (Check applicable Inferior Vena Cava Filters):

            ✔
            Ƒ       Günther Tulip® Vena Cava Filter

            Ƒ       Cook Celect® Vena Cava Filter

                    Gunther Tulip Mreye
                    Cook Celect Platinum
                    Other:
            ___________________________________________________________
     11. Date of Implantation as to each product:

        _____________________________________________________________________
        December 15, 2005

        _____________________________________________________________________

     12. Hospital(s) where Plaintiff was implanted (including City and State):

        _____________________________________________________________________
        St. Mary's Hospital (Grand Rapids, MI)

        _____________________________________________________________________

     13. Implanting Physician(s):

        _____________________________________________________________________
        Stephen B. Rupp, MD

        _____________________________________________________________________

        _____________________________________________________________________

        _____________________________________________________________________

     14. Counts in the Master Complaint brought by Plaintiff(s):

            ✔
            Ƒ       Count I:        Strict Products Liability – Failure to Warn

           ✔
           Ƒ        Count II:       Strict Products Liability – Design Defect

           ✔
           Ƒ        Count III:      Negligence

            ✔
            Ƒ       Count IV:       Negligence Per Se

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            ✔
            Ƒ       Count V:       Breach of Express Warranty

            ✔
            Ƒ       Count VI:      Breach of Implied Warranty

            ✔
            Ƒ       Count VII:     Violations of Applicable ________________
                                                            Michigan         (insert State)

                    Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade

                    Practices

            ✔
            Ƒ       Count VIII:    Loss of Consortium

            Ƒ       Count IX:      Wrongful Death

            Ƒ       Count X:       Survival

            ✔
            Ƒ       Count XI:      Punitive Damages

            Ƒ       Other:         ___________________ (please state the facts supporting

                    this Count in the space, immediately below)

            Ƒ       Other:         ___________________ (please state the facts supporting

                    this Count in the space, immediately below)

            __________________________________________________________________

            __________________________________________________________________

            __________________________________________________________________

            __________________________________________________________________

            __________________________________________________________________

     15. Attorney for Plaintiff(s):_____________________________________

         Wendy R. Fleishman, Daniel E. Seltz, Adam H. Weintraub

     16. Address and bar information for Attorney for Plaintiff(s):
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     Lieff Cabraser Heimann & Bernstein, LLP
     250 Hudson Street, 8th Floor, New York, NY 10013-1413

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                                           LIEFF CABRASER HEIMANN &
                                           BERNSTEIN, LLP


                                           /s/ Wendy R. Fleishman
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                                           LIEFF CABRASER HEIMANN
                                           & BERNSTEIN, LLP
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                               CERTIFICATE OF SERVICE

       I hereby certify that on     July 9, 2018         a copy of the foregoing was served
electronically and notice of the service of this document will be sent to all parties by operation
of the Court’s electronic filing system to CM/ECF participants registered to receive service
in this matter. Parties may access this filing through the Court’s system.


                                                    /s/ Wendy R. Fleishman
                                                    :HQG\5)OHLVKPDQ




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